        CASE 0:20-cv-01746-PAM-DTS Doc. 13 Filed 10/20/20 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

Khalid A. A.,                                            Civ. No. 20-1746 (PAM/DTS)

                            Petitioner,

v.                                                                             ORDER

U.S. Immigration and Customs
Enforcement,

                            Respondent.


      This matter is before the Court on the Report and Recommendation (“R&R”) of

United States Magistrate Judge David T. Schultz dated September 29, 2020. (Docket No.

12). The R&R recommends denying the Petition as moot because Petitioner has been

deported. The Court has received no objections to the R&R and the time to do so has

expired. See D. Minn. L.R. 72.2(b)(1) (providing that a party may file objections to a

magistrate judge’s recommendations within 14 days).

      Accordingly, IT IS HEREBY ORDERED that:

      1.        The R&R (Docket No. 12) is ADOPTED; and

      2.        The Petition (Docket No. 1) is DENIED as moot.

LET JUDGMENT BE ENTERED ACCORDINGLY.


Date: October 20, 2020
                                                      s/ Paul A. Magnuson
                                                      Paul A. Magnuson
                                                      United States District Court Judge
